Case 1:24-cv-02165-JRS-MG         Document 6     Filed 12/10/24   Page 1 of 1 PageID #: 48

                              UNITED STATES DISTRICT COURT
                                   Southern District of Indiana
                                         Kristine L. Seufert

                                         Clerk of the Court
  46 East Ohio Street, Room 105                                          101 Northwest MLK Boulevard
  Indianapolis, Indiana                                                            Evansville, Indiana
  46204                                                                                          47708
  921 Ohio Street                                                               121 West Spring Street
  Terre Haute, Indiana                                                           New Albany, Indiana
  47807                                                                                        47150




                                                  December 10, 2024
  United States District Court
  Northern District of Indiana
  Office of the Clerk
  204 S. Main St.
  South Bend, Indiana 46601



            Re: CORCORAN v. REAGLE et al
            Cause Number: 1:24−cv−02165−JRS−MG


  To Whom it May Concern:

           Pursuant to an Order dated 12/10/2024, the above file is being transferred to the
  United States District Court for the Northern District of Indiana. The case file has been
  transferred electronically to your court via CM/ECF.


                                                  Sincerely,
                                                  Kristine L. Seufert



                                                  By: s/Justin S Roof
                                                    Justin S Roof, Deputy Clerk


   cc: Counsel of record
